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 5                             UNITED STATES DISTRICT COURT
 6                                      DISTRICT OF NEVADA
 7                                                    ***

 8   UNITED STATES OF AMERICA,           )
                                         )
 9                     Plaintiff(s),     )                     Case: 2:11-cr-0120-RLH-CWH
                                         )
10         vs.                           )                              ORDER
                                         )                     (§ 2255 Motion to Vacate – #164)
11   GEORGE E. ANDERSON,                 )
                                         )
12                     Defendant(s).     )
     ____________________________________)
13

14                  Before the Court is Defendant Anderson’s Motion Under 28 U.S.C. § 2255 to

15   Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody (#164, filed July 25,

16   2014), and the Government’s Opposition to Motion (#173, filed December 5, 2014). No reply was

17   filed. Defendant Anderson seeks relief from his sentence of 66 months with three years of

18   supervised release entered July 25, 2013. Anderson was convicted following a plea of guilty,

19   pursuant to a written plea agreement, to Conspiracy to Commit Wire Fraud (Count 1) and Wire

20   Fraud (Counts 2 and 3). In the plea agreement he waived all appellate rights except for ineffective

21   assistance of counsel. Although he did not exercise his right to appeal for ineffective assistance of

22   counsel, that is the basis for the four grounds asserted in this motion.

23                  The Motion will be denied for the reasons stated hereafter.

24                                      FACTUAL BACKGROUND

25                  Defendant Anderson was indicted, together with co-defendant Andrew Swan, on

26   March 21, 2011, for Conspiracy to Commit Wire Fraud and two counts of Wire Fraud. Without

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 1   going into exhaustive detail, the activities of the two involved nine sham real estate purchases,

 2   using a straw buyer, the making of materially false statements to lenders, reselling the properties at

 3   fraudulently elevated prices and inducing the escrow company to disburse the proceeds to

 4   companies held by the two co-defendants.

 5                  James Hartsell was appointed to represent Anderson and remained his counsel until

 6   sentencing. On January 28, 2013, the date set for trial of Mr. Anderson, co-defendant Swan

 7   having already entered a guilty plea, Defendant Anderson did not appear. The Court issued a

 8   bench warrant and he was subsequently arrested in California on February 6, and on February 25,

 9   was detained for trial, which was rescheduled for April 29, 2013. On March 29, 2013, Anderson

10   filed a motion to dismiss counsel. On April 5, the Court held a hearing on the motion to dismiss

11   counsel. Anderson asked permission to review a proposed plea agreement (that he had previously

12   signed) again with Mr. Hartsell and have the weekend to think about it. On April 8, 2013,

13   Anderson having agreed to proceed with Mr. Hartsell as his counsel and wishing to proceed with a

14   change of plea, Anderson’s motion to dismiss counsel was denied. The canvass of the Defendant

15   was conducted, his change of plea accepted, and the matter set for sentencing.

16                  Because of the substance of Defendant Anderson’s Motion pursuant to § 2255, the

17   Court feels it prudent to rehearse salient statements Defendant made, under oath, at the change of

18   plea colloquy. First, he confirmed the essential points of the plea agreement, that he had read,

19   understood and signed the plea agreement, that he agreed and understood that he was waiving his

20   constitutional rights to call witnesses on his own behalf or offer evidence on his own behalf, etc.

21   He confirmed that his decision to plead guilty was voluntary and that he understood he could not

22   appeal any sentence within the advisory guidelines range. (In fact, the guideline range calculated

23   by the PSR was 121-151 months. The range calculated by the Court was 78-97 months. But the

24   Court varied downward from that and sentenced him to 66 months.) Anderson specifically stated

25   he was “satisfied with Mr. Hartsell’s representation,” and when asked if he had read the plea

26   agreement, he responded that he did; when asked if he discussed it with his attorney, he responded

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 1   that he did; and, when asked if his attorney answered any questions he had about the plea

 2   agreement, Anderson answered, “Right away, sir.” During the colloquy, and after being reminded

 3   he was under oath, Anderson agreed with the list of inculpatory facts in the plea agreement and

 4   volunteered that, “I actually read it [the plea agreement’s factual statement] more than once.”

 5   Finally, Anderson “agreed to make full restitution in the amount of $3,3517,950.”

 6                  Following the issuance of the Presentence Report (PSR), with its calculated

 7   guideline range of 121-151 months, Defendant Anderson retained his own counsel, Jennifer Joy

 8   Wirsching, of California, to represent him “in the sentencing hearing only” and asserting that he

 9   was not seeking to withdraw his plea or otherwise alter the terms of the plea agreement. The

10   sentencing was held July 25, 2013. The Court declined to apply the Government’s requested

11   enhancement for obstruction of justice (for his failure to appear for trial) and recalculated the

12   guideline range as noted above, but even varying downward from that to a sentence of 66 months,

13   with a restitution order in the amount of $3,517,950.

14                                    GROUNDS FOR THE MOTION

15                  Defendant Anderson asserts four grounds of constitutional ineffectiveness of

16   counsel:

17   1.     That Hartsell did not respond to his demand for 3 subpoenas for 3 companies in order to

18          obtain exculpatory evidence; that Hartsell sent him a “rude e-mail message” in response to

19          his desperate attempts to follow up;

20   2.     That Hartsell failed to contact, speak to, or subpoena any of the 22 potential witnesses

21          identified by the Defendant and “failed to hire an expert witness to rebut the Government’s

22          calculated loss”;

23   3.     That, despite Anderson’s signing of a plea agreement on April 8, 2013, Mr. Hartsell failed

24          to negotiate a plea proposal by not allotting sufficient time for effective or competent

25          negotiation in January 2013; and

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 1   4.     That Mr. Harstell failed to argue the miscalculation of the restitution amount by failing to

 2          argue the offset by the amount actually recouped from a sale of returned collateral follow-

 3          ing foreclosure.

 4                                                  LAW

 5                  To establish ineffectiveness of counsel under 28 U.S.C. § 2255, Defendant must

 6   show (not just claim) (1) that counsel’s representation fell below an objective standard of

 7   reasonableness, and (2) that the ineffective performance caused prejudice. Strickland v.

 8   Washington, 466 U.S. 668, 687-88 (1984). Failure to establish either prong ends the inquiry. See,

 9   e.g., Earp v. Cullen, 623 F.3d 1065 (9th Cir. 2010).

10                  In examining such a claim, that counsel’s representation fell below “an objective

11   standard of reasonableness,” the Court “must apply a strong presumption that counsel’s representa-

12   tion was within the wide range of reasonable professional assistance. The challenger must show

13   that counsel made errors so serious that he or she was not functioning as the counsel guaranteed by

14   the Sixth Amendment.” Harrington v. Richter, 131 S. Ct. 770, 787 (2011). Conclusory allega-

15   tions do not warrant habeas relief. James v. Borg, 24 F.3d 20, 26 (9th Cir. 1994).

16                                             DISCUSSION

17                  Defendant Anderson’s claims are all conclusory. He claims that witnesses and

18   companies should have been interviewed and subpoenaed, but makes no attempt to describe what

19   exculpatory evidence they might provide. He claims that Mr. Hartsell did not allocate enough time

20   negotiating the plea agreement, but gives not even a suggestion as to what additional benefits or

21   forbearances should have been included in the plea agreement. Nor does he even suggest that had

22   certain benefits not been included, he would have been willing to go to trial. He does not suggest

23   that he was forced to agree to the plea agreement–and stated, under oath, at the plea colloquy that

24   he entered into the plea agreement voluntarily. He makes no claim of erroneous advice or, but for

25   such advice, that he would not have agreed to the plea.

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 1                  While he complains about what Mr. Hartsell should and should not have done, he

 2   never explains how those alleged acts or omissions caused a fundamentally unfair or unreliable

 3   result, or prejudiced him in the result. While he rejected a plea offer in January 2013, he never

 4   explains how his own decision to reject that plea offer can be blamed on Mr. Hartsell.

 5                  Contrary to his conclusory assertions, the facts are that Mr. Hartsell went the extra

 6   mile in his efforts to establish a defense, and that it was Anderson who often failed to cooperate or

 7   assist in his efforts. The affidavit of Mr. Hartsell, documenting his activities and those of his

 8   investigators, shows that his investigators had numerous contacts with Anderson and worked

 9   extensively on the case. In fact, despite numerous conference calls with Anderson, in the fall of

10   2012, Anderson refused to review the prosecution’s inculpatory discovery and chose, instead, to

11   work on renovating a car, or claim that he didn’t have time because he was writing a book. After

12   initially signing a plea offer in January, Defendant failed to appear in Court on January 29, 2013,

13   was arrested in California, and then backed out of the agreement and refused to meet with counsel.

14                  The reports of the investigators reveal that the companies for which Anderson

15   wanted subpoenaed have disconnected phone numbers and some were out of business. Others

16   refused to disclose records, or stated they were no longer available. Of the witnesses Anderson

17   demanded subpoenaed, some refused to talk to investigators, some had criminal records, some

18   claimed they would do anything to bring Anderson to justice. Furthermore, the investigators

19   discovered that the county records did not support Anderson’s claims of ownership or the length of

20   ownership of properties in question. In sum, hours were spent by Hartsell’s investigators trying to

21   pursue claims made by Anderson, only to discover that witnesses and evidence were either not

22   available or not exculpatory. That fact, combined with the Defendant’s failure to cooperate,

23   clearly supports the legal presumption that Mr. Hartsell’s representation was both subjectively and

24   objectively far above the standard of reasonableness. Furthermore, there is no showing, or even an

25   attempt to show, prejudice to Defendant because of any action or inaction on the part of Mr.

26   Hartsell.

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 1                IT IS THEREFORE ORDERED that Defendant Anderson’s Motion Under 28

 2   U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody

 3   (#164) is DENIED.

 4                Dated: January 6, 2015.

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 6                                                    ____________________________________
                                                      Roger L. Hunt
 7                                                    United States District Judge

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